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                    6     MORGAN FABRICS CORPORATION
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                    8                              UNITED STATES DISTRICT COURT
                    9                            CENTRAL DISTRICT OF CALIFORNIA
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                 11       MORGAN FABRICS CORPORATION,                 Case No.
                          a Illinois Corporation,
                 I2                                                   COMPLAINT FOR:
                                          Plaintiff,
                 13
                                  VS                                  COPYRIGHT INFRINGEMENT;
                 I4
                          GUM TREE FABRICS, INC., A                   JURY TRIAL DEMANDED
                 15       Mississippi Corporation; DOES I - 10,
                          rnclustve,
                 T6
                                          Defendants
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                                                            COMPLAINT
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                               I            Plaintiff Morgan Fabrics Corporation ("Plaintiff') for its Complaint against
                               2   Defendant Gum Tree Fabrics, Inc. ("Defendant"), and DOES 1-10 inclusive
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                               J   (collectively, "Defendants"), alleges as follows      :


                               4                                        Jurisdiction & Venue
                               5            1.     This action arises under the Copyright Act of I976, Title 17 U.S.C.,
                               6   $ 101 et seq.
                               7            2.     This Court has subject matter jurisdiction over this Complaint pursuant
                               8   to 28 U.S.C. $$ 133 1 and 1338 (a) and (b) and the Copyright Act.
                               9            3.     Venue is proper in this Court pursuant to 28 U.S.C. $ 1391(b) insofar
                             10    as a substantial part of the acts and omissions giving rise to the claims occurred     in
                             11    this district and each of the defendants can be deemed to reside in this judicial
                             t2 district for venue purposes.
                             t3                                              The Parties
                             I4             4.     Plaintiff is a corporation organized and existing under the laws of the
                             15    State of   lllinois. Plaintiff   has a principal place of business of 4265 Exchange Ave.,

                             l6 Vernon, California 90058, and is authorized to do business in the state of
                             t7 California.
                             18             5.     Plaintiff is informed and believes, and on that basis alleges, that
                             t9 Defendant Gum Tree Fabrics, Inc. is a corporation organized            and existing under the

                             20    laws of the state of Mississippi, with a principal place of business located a|4002
                             21    South Eason Boulevard, Tupelo, Mississippi 38804.
                             22             6.     Plaintiff is informed and believes, and on that basis alleges, that
                             23    Defendant is subject to personal jurisdiction in this judicial district as a result   of
                             24    Defendant's extensive business dealings in this this district. Plaintiff is informed
                             25    and believes, and on that basis alleges, that Defendant maintains a warehouse in this

                             26 judicial district from which it transacts business, including the selling of its

                             21    products to customers in California and in the western United States. Plaintiff is
                             28    also informed and believes, and on that basis alleges, that Defendant employs at
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                              1   least one sales representatives in California for the purposes of marketing and

                              2   selling Defendant's products in California and in the western United States.
                              J            7   .   Plaintiff is informed and believes and, thereon   alleges , that Defendants

                              4   DOES I through 10, inclusive, are other-as-of-yet unidentified parties who have
                              5   infringed Plaintiff s copyrights, have contributed to the infringement or have
                              6   otherwise engaged in the wrongful acts alleged herein. The true names          of
                              7   Defendants 1 through 10 are presently unknown to Plaintiff, which, therefore, sues
                              8   said Defendants by such fictitious names. Plaintiff      will   seek leave to amend this

                              9   Complaint with their true names and capacities once ascertained.
                          10               8.      Plaintiff is informed and believes, and thereon alleges. that at aII times
                          11      relevant hereto, each of Defendants was the agent, employee, alter-ego, affiliate,
                          12      officer, director, manager, and/or principal of the other Defendants and was at all
                          13      times relevant hereto acting within the course and scope of such agency
                          t4 relationship, employment, alter-ego relationship or affiliation. Plaintiff is further
                          15      informed and believes, and thereon alleges, that each Defendant actively
                          r6 participated in, or subsequently ratified each of the acts and conduct alleged herein
                          t7 with fulI knowledge of all the facts and circumstances attendant thereto, including
                          18      the rights of Plaintiff and the damage to be sustained by Plaintiff as a result of the
                          I9      acts and conduct alleged herein.

                         20                9.      Plaintiff designs and manufacturers unique and original two-
                         2I       dimensional artwork that it features on the fabric which it then sells to its
                         22       customers. Fabrics bearing Plaintiff s original designs are used on, among other
                         23       products, fine home furnishings, bedding, and in recreational vehicles.
                         24                10.     Among Plaintiff s catalogue of original two-dimensional designs is a
                         25       design designated by Plaintiff as: Alessio HTS (the "Alessio HTS Design"). The
                         26       Alessio HTS Design has been registered with the United States Copyright Off,rce
                         27       and assigned Registration No.      VA 2-166-397. Plaintiff owns all rights in and to
                         28       the Alessio HTS Design.
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                  1            I l.   The Alessio HTS Design was created by Plaintiff in or about 2018, and
                  2   Plaintiff has been marketing, offering for sale and selling the Alessio HTS Design
                  a
                  J   to its customers since its creation.
                  4            12.    Prior to the acts of infringement alleged herein, Plaintiff widely
                  5   disseminated fabric bearing the Alessio HTS Design to various parties in the home

                  6   furnishing, hospitality and recreational vehicle industries. The Alessio HTS Design
                  l   has been featured at trade shows and marketed to manufacturers and retailers across

                  8   the United States. The Alessio HTS Design is featured on pieces of furniture that

                  9   are sold in thousands of retail locations nationwide.

              10               13.    Plaintiff is informed and believes, and on that basis alleges, that
              11      following its sale and dissemination of the Alessio HTS Design, the Defendants,
              T2      and each of them, offered for sale, sold and distributed fabric andlor products
              13      features a design that was substantially similar to the Alessio HTS Design without
              t4 Plaintifl s permi ssi on, consent or autho ization.
              15               14.    A side-by-side comparison of the Alessio HTS Design (on the left) and
              I6 the infringing design sold by Defendant (on the right) demonstrates that the two
              I7 designs are identical or substantially similar:
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                             1                                     First Claim for Relief
                             2                                   (Copyright Infringement)
                             J            15.    Plaintiff repeats and incorporates by reference the allegations
                             4   contained in Paragraphs     I through   14 as   if fully set forth herein.
                             5            16.    Plaintiff is informed and believes, and on that basis alleges, that prior
                             6   to the act of infringement complained of herein, Defendant had access to the
                             7   Alessio HTS Design through: (a) Plaintiff s samples; (b) products in the
                             8   marketplace made with lawfully printed and obtained fabric bearing the Alessio
                             9   HTS Design; (c) fabric or products bearing illegally obtained copies of the Alessio
                         10      HTS Design; or (d) Plaintiff s showroom and/or marketing activities.
                         11               17.    Defendants infringed Plaintiff      s   rights in the Alessio HTS Design by
                         l2 creating, manufacturing,          and developing directly infringing works andlor derivative

                         13      works based upon the Alessio HTS Design that infringe upon Plaintiff             s   rights.
                         t4 Plaintiff is informed and believes, and based thereon alleges, that Defendant
                         15      infringed Plaintiff s rights in the Alessio HTS Design by offering for sale, selling,
                         16      displaying and distributing the infringing copies of the Alessio HTS Design to its
                         I7 customers and clients.
                         18               18.    Defendant infringed Plaintiff s rights in the Alessio HTS Design by
                         I9 selling, offering for       sale, displaying andlor distributing fabric containing the

                        20       Alessio HTS Design without Plaintiff s authorization.
                        2l                19.    Due to Defendant's acts of infringement, Plaintiff has suffered
                        22       damages in an amount to be determined at trial.

                        23                20.    Due to Defendant's acts of copyright infringement as alleged herein,
                        24       Defendant has obtained profits that it would not otherwise have realized but for its
                        25       infringement of the Alessio HTS Design. Plaintiff is entitled to disgorgement of
                        26       Defendant's profits attributable to the infringement of the Alessio HTS Design in
                        27       an amount to be established at trial.

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                               1            21.    Plaintiff is informed and believes, and on that basis alleges, that
                               2   Defendant's acts of infringement were undertaken with actual or constructive
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                               J   knowledge of Plaintiff s rights. As a result, Defendant's acts of copyright
                               4   infringement were, and are, intentional, malicious, willful and undertaken without
                               5   regard to Plaintiff s rights.

                               6                                            Praver for Relief
                               7            Therefore, Plaintiff prays for judgment against Defendant as follows:
                               8            1.     That Defendant be enjoined from manufacturing, offering for sale,
                               9   selling, displaying, distributing or otherwise trafficking in any product that
                           10      infringes upon Plaintiff      s   rights in the Alessio HTS Design;
                           11               2.     That Plaintiff be awarded all profits and financial gains of Defendant
                           t2 resulting from the acts of infringement, in addition to all losses of Plaintiff, the
                           13      exact sum of which     will   be proven at the time of trial, or   if   elected before final
                           I4 judgment, statutory         damages pursuant       to I7 U.S.C. $$   101 , et   seq.;
                           15               3.     For Plaintiff s attorney's fees and the costs as permitted under the
                           I6 Copyright Act,          17 U.S.C. $$ 101, et seq.

                           I7               4.     For pre-judgment interest as allowed by law;

                           18               5.     For an award of Plaintiff s costs of this action; and

                           t9               6.     Such other relief as this Court deems just and reasonable.

                          20       DATED: August 16,2021                         BUCHALTER
                          2I                                                     A Professional Corporation
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                          23                                                     By:      lsl Matthew L. Seror
                                                                                              MATTHEW L. SEROR
                          24                                                        Attornevs for Plaintiff
                                                                                    MORGAN FABRIC CORPORATION
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                  1                                JURY TRIAL DEMAND
                  2            Plaintiff Morgan Fabric Corporation demands   a   trial by jnty on all issues   so

                  J   triable in this matter.
                  4   DATED: August 16,2021                  BUCHALTER
                                                             A Professional Corporation
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                                                             By:     lsl Mqtthew L. Seror
                  7                                                     MATTHEW L. SEROR
                                                                Attornevs for Plaintiff
                  8                                             MORGAN FABRIC CORPORATION
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